aU MICE MILiCOleiir tel ces clita antzeLe ak stot oa

Debtor1 VIKRAM SAGAR PASALA

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: Eastern District of Michigan

c mber 24-44296
iitknown) C) Check if this is an

amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

av Married
CJ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Wf No

C) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 - Debtor 2: Dates Debtor 2
lived there lived there
CJ same as Debtor 1 Cl Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
CJ same as Debtor 1 C] sare as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivafent in a community property state or territory? (Community property
states and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C] Ne
LL] Yes, Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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Debtor 1 VIKRAM SAGAR PASALA Case number (7 snown, 24-44296

First Name Middle Name Last Name

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
C] No
Cl Yes. Fill in the details.

Sources of income Gross income Sources of Income Gross income
Cheek all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until Q Wages, commissions, $ 6,666.66 Q pages, comm issions, 5
the date you filed for bankruptcy: USES, pS eee P
J Operating a business Q Operating a business
For last calendar year: CQ Wages, commissions, CQ) Wages, commissions,
, bonuses, tips $ 30,000.00 bonuses, tips $
(January 1 to December 31,2023 __) (C2 operating a business C) operating a business
For the calendar year before that: QO Wages, oomssions. Q wages, commissions,
uses, ps $ 00,000.00 uses, lips $

(January 1 to December 31,2022 __) CJ Operating a business (2 Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income Is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Cl] No
( Yes. Fill in the details.

Sources of income Gross income trom Sources of income Gross income from
Describe below. each source Desoribe below, each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until VPat RS tech $______ 6,666.66 _

the date you filed for bankruptcy: $
$
For last calendar year: Businesses $
(January 1 to December 31,2023)
Wy
$
For the calendar year before that: Businesses $
(January 1 to December 31,2022 _)
YY
$.
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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bettort VIKRAM SAGAR PASALA Case number iinown, 24-44296

First Name Middie Name Laat Name

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
Wi No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575" or more?

C2 No. Go to fine 7.

CJ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment,

C} Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

CJ No. Go to line 7.

Cl Yes. List balow each creditor to whom you paid a total of $600 or more and the total ammount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment tor...
payment
$ $
Creditors Name Q Mortgage
O) car
Number Street C2 credit card
CJ Loan repayment
Cl Suppliers or vendors
oly State ZiP Code C) other
$ $ CJ Mortgage
Creditor's Name
CJ car
None area CI credit card
Q Loan repayment
Suppliers or vendors
Bity State ZIP Code C) other
$ $ Cl Mortgage
Creditor's Name
CJ car
Number Street Q Credit card
C} Loan repayment
) Suppliers or vendors
City Stale ZIP Code O) other
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor 1 VIKRAM SAGAR PASALA Case number (i known) 24-44296

First Name Middle Name Last Name

7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners: relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their vating securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

a No
CI Yes. List all payments to an insider.

Dates of Total amount Amount you stil ‘Reason for this payment
payment pald owe

$ $
insider's Name
Number Street
City State ZIP Code
$ $
Insider's Name

Number Street

City State ZIP Cade

8, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

WA No

C} Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still, Reason for this payment
payment paid owe Include creditor's name

insider's Name §, $.

Number Street

City State = ZIP Code

insider's Name

Number Street

City State ZIP Cade

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Debtor 4 VIKRAM SAGAR PASALA Case number it nown) 2444296

First Name Middle Name. Last Name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 7 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wi No

CQ Yes. Fill in the details.

Nature of the case Court-or agency Status of the case
Case title Sour Name CI] Pending
CJ on appeal
Number Street CJ concluded
Case number
City State ZIP Code
Case title Sout Name CI) Pending
C3 on appeal
Number” Steet CJ concluded
Case number
City State ZIP Code

40. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Wf No. Goto line 14,
C Yes. Fill in the information below.

Describe the property. Date Value of the property
Crediter's Name §
Number Street Expiain what happened
Cl Property was repossessed.
(2 Property was foreciosed.
C] Property was garnished.
City State ZIP Code Q Property was attached, seized, or levied.
Describe the property Bate Value of the propert;
$
Creditors Name
Number Street
Explain what happened

Q Property was repossessed.

Q) Property was foreclosed.

(2) Property was garnished.

CJ Property was attached, seized, or levied.

City State ZIP Code

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Debtor 1 VIKRAM SAGAR PASALA Case number (known) 24-44296

First Name Middle Name Last Name

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

Cl Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Craditor's Name
$
Nurnber Street
City State ZIP Code Last 4 digits of account number: XXXX—__

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

of No
C] Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptey, did you give any gifts with a total value of more than $600 per person?

W No

CJ Yes. Fill in the details for each gift.

Gifts with a total value of more than $606 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift

Number Street

City State ZIP Code

Person's relationship to you

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
ber person : the gifts

Person to Whom You Gave the Gift

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor’ VIKRAM SAGAR PASALA Case number trom 24-44296

Firat Name Middle Neme Last Name

44. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No

C) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity's Name
$
Number Street
City State ZIP Code

List Certain Losses

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

C] Yes. Fill in the details.

a oe property you lost and Describe any insurance coverage for the loss Bate of your Value of property
the tose aceurred include the amount that insurance has paid. List pending insurance inne lost
glaims on line 33 of Sehedile A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
: you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

a No

C} Yes. Fill in the details.

Geseription and value of any property transferred Date payment or Amount of payment
transfer was

Person Who Was Paid made

Number Street $
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

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Debtor 1 VIKRAM SAGAR PASALA Case number (i known, 24-44296

First Name Middis Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made. - payment
Person Who Was Paid
$
Number Street
$
City State ZIP Code
Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No

C) Yes. Fill in the detaits.

Description and value of any property transterred Date paymentor: ‘Amount of payment
transfer was
made
Person Who Was Pald
Number Street §
$
City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
wa No
C] Yes. Fill in the details.

Description and value of property. Describe ary property or payments received Date transfer
transferred ordebts paid in exchange was made

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

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pebtor1 VIKRAM SAGAR PASALA Case number irinow 24-44296

First Name Middie Name: Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-pratection devices.)

A No

C} Yes. Fill in the details.

Description and value of the property transferred Date transter
was made

Name of trust

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

| 20. Within 4 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
: closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Gd No

() Yes. Fill in the detaits.

Last 4 digits of account number: Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
XXKX ee ee C] checking $
Number Street O Savings

Q Money market

) Brokerage
City State ZIP Code Oot

XXXX_ (2 checking $
C savings

Name of Financial Institution

Number Street QQ Money market

OQ Brokerage

CJ other.

City State = ZIP Code

: 24. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

od No
(CD yes. Fill in the details.

Who else had access to it? . Describe the contents Do you still

have it?
C} No

Name of Financial inetitution Name QO) ves

Number Street Number Street

City State ZIP Code
City State ZIP Code
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Debtor VIKRAM SAGAR PASALA Case number irsnown 24-44296

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

C) Yes. Fill in the detaits.

Who else has or had access to it? Describe the contents Do you still
a have it?
CJ No
Name of Storage Facility Name Cl ves
Number Street Number Street

City State ZIP Code

City State = ZIP Code

Identify Property You Hold er Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

wf No
C} ves. Fill in the details.

Where is the property? Describethe property == (Valve

Owner's Name $

Number Street

City State ZIP Code

City State ZIP Code

Give Detalls About Environmental information

For the purpose of Part 10, the following definitions apply:

e Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

« Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

® Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

C) Yes. Fill in the details.

Governmental-unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code
City State ZIP Code
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Debtor 1 VIKRAM SAGAR PASALA Case number (if known). 24-44296

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

Wf No

C) ves. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

(2 Yes. Fill in the details.

Court or agency Nature of the case Siahre of the
Case title,
out Name QO Pending
C] on appeal
Number Street OQ conctuded
Case number Clty State ZIP Code

Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CJ A member of a limited liability company (LLC) or limited liability partnership (LLP)
wi A partner in a partnership
(2 An officer, director, or managing executive of a corporation

CJ An owner of at least 5% of the voting or equity securities of a corporation

CI No. None of the above applies. Go to Part 12.
i Yes. Check ail that apply above and fill in the details below for each business.

Loopbell Inc Describe the nature of the business Employer Identification number.
: / : . : _ Do not include Social Security number or ITIN,
Business Name
IT company EIN
Number Street
Nanie of accountant or bookkeeper Dates business existed

From 08/24/2017 7, 05/05/2023

City State ZIP Code
. Describe the nature of the business Employer Identification number
Profile DM Inc Do not include Social Security number or ITIN.

Business Name :
Digital Marketing Services

BINS oe
Number Street
Name of accountant or bookkeeper Dates business existed
From 06/1 1/20207_5 05/07/2023
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

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Debtor 1 VIKRAM SAGAR PASALA Case number (if known), 24-44296

First Name Middle Name Last Name

Etiplover identifigation x
tribe the nature of the business
~ Cees : : Do not inchide Social Security number or (TIN,
Business Name
BIN: =
Number Street Name of accountant or bookkeeper Dates business existed
From To 05/07/2023
City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

CQ] No
CJ Yes. Fill in the details below.

Date issued

Name MM7DD/YYYY

Number Street

City State ZIP Code

fn ---

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1619, 3571.

~
* VO x

$
Signature of Debtor 4 i Signature of Debtor 2

pate OO (2% P2074 Date

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?

CL) No
OQ) ves

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

CJ Ne
C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

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BUSINESSES previously owned by VIKRAM SAGAR PASALA

Amisha Entertainment
Exited from 06/27/2011-12/23/2023
Hyderabad, India

Cortracker inc,

Existed from 05/03/2018- 05/09/2023

Past address: 38345 W Lo Mile Rd Ste 300
Farmington, MI 48335

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